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DCG HRW USAO 2020R00407

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA

V.

criminaL No. 2 | - Ci- 144 AWG

EDLEY S. SLADE, (Mail Fraud, 18 U.S.C. § 1341;

* False Statement to Obtain Federal
Defendant * Employees’ Compensation,
* 18 U.S.C. § 1920; Forfeiture,
* 18 U.S.C. § 981(a)(1)(C), 21 U.S.C.
* § 853(p), 28 U.S.C. § 2461(c))
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INDICTMENT
COUNTS ONE THROUGH FIVE -
Mail Fraud tu
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The Grand Jury for the District of Maryland charges that: 2 =
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Introduction = _ hi
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At all times relevant to this Indictment:

1. The United States Department of Labor (“DOL”) was a department of the
executive branch of the United States Government. DOL’s Office of Workers’ Compensation
Programs (“OWCP”) administered the Federal Employees’ Compensation Act (“FECA”), which
provided compensation benefits to civilian employees of the United States for disability due to
personal injury sustained while in the performance of duty. The FECA program included

reimbursement for reasonable travel expenses to and from medical appointments related to the

relevant injury, even if the employee returned to work.

2. To determine eligibility for travel reimbursement, DOL required injured disabled

employees to complete and sign DOL Form OWCP-957 (“Form 957”), also known as a
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“Medical Travel Refund Request Form.” Form 957 required employees to specify the date of
travel, the direction of travel (round trip or one way), the locations and addresses traveled to and
from, and the miles traveled via private automobile. The employees also were required to certify
that the statements on Form 957 were true and correct and that any false statement or
misrepresentation to obtain reimbursement from OWCP was subject to criminal prosecution.
Background

3. Defendant EDLEY S. SLADE (“SLADE”) was employed by the United States
Postal Service (“USPS”) as a mail processing clerk at the Curseen-Morris Processing and
Distribution Center in the District of Columbia. SLADE retired from USPS in 2018. SLADE
was a resident of Maryland.

4, SLADE reported three on-the-job injuries that OWCP determined qualified for
FECA workers’ compensation benefits. On September 21, 1995, SLADE filed a claim for back
and left knee injury, which qualified SLADE for FECA compensation through OWCP.

5. On May 13, 2005, SLADE filed a claim for a right wrist injury, which qualified
SLADE for FECA compensation through OWCP.

6. On September 1, 2005, SLADE filed a claim for a left wrist injury, which
qualified SLADE for FECA compensation through OWCP.

The Scheme to Defraud

a. From at least in or about January 2012 through in or about December 2019, in the
District of Maryland, SLADE devised and willfully participated in a scheme and artifice to
defraud OWCP and obtain money by materially false and fraudulent pretenses and
representations, with intent to defraud and knowledge of the scheme’s fraudulent nature, as

further described below (“the scheme to defraud”).
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Manner and Means

8. It was a part of the scheme to defraud that SLADE repeatedly sought and
received reimbursement from OWCP pursuant to FECA for travel expenses allegedly incurred in
connection with trips to and from medical appointments, physical therapy treatment, or trips to
obtain medications that SLADE claimed had occurred, when, in fact, no such services had been
provided on dates for which SLADE sought reimbursement or the mileage claims were
materially inflated.

9. It was further a part of the scheme to defraud that, in order to obtain
reimbursement from OWCP, SLADE prepared, certified, and mailed via the USPS numerous
Form 957s to OWCP, knowing that the Form 957s contained materially false information, to wit,
that SLADE had driven round trip via private automobile from SLADE?’s home in Forestville,
Maryland to providers in various locations in the state of Maryland.

10. It was further a part of the scheme to defraud that SLADE obtained at least
$66,385 in purported travel reimbursement, to which SLADE was not entitled.

The Charge
11. On or about the dates set forth below, in the District of Maryland, the defendant
EDLEY S. SLADE
for the purpose of executing the scheme to defraud, knowingly caused to be delivered by the
United States Postal Service, according to the direction thereon, the following matters and

things:
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Count

Claim Date

Mail Matter or Thing

June 24, 2016

Form OWCP-957 with false entries claiming inflated and
nonexistent travel benefits for purported visits to pharmacy
and treatment providers sent via USPS by SLADE to
OWCP.

July 28, 2017

Form OWCP-957 with false entries claiming inflated and
nonexistent travel benefits for purported and nonexistent
visits to the pharmacy and treatment providers sent via
USPS by SLADE to OWCP.

June 14, 2018

Form OWCP-957 with false entries claiming inflated and
nonexistent travel benefits for purported and nonexistent
visits to the pharmacy and treatment providers sent via
USPS by SLADE to OWCP.

April 30, 2019

Form OWCP-957 with false entries claiming inflated and
nonexistent travel benefits for purported and nonexistent

visits to the pharmacy and treatment providers sent via
USPS by SLADE to OWCP.

December 5, 2019

Form OWCP-957 with false entries claiming inflated and
nonexistent travel benefits for purported and nonexistent
visits to the pharmacy and treatment providers sent via
USPS by SLADE to OWCP.

18 U.S.C. § 1341

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COUNTS SIX THROUGH TEN
(False Statement to Obtain Federal Employees’ Compensation)

The Grand Jury for the District of Maryland further charges:
1. Paragraphs | through 10 of Count One are incorporated here.
2. On or about the dates listed below, in the District of Maryland, the defendant,
EDLEY S. SLADE,
in a matter within the jurisdiction of the United States Department of Labor, did knowingly and
willfully make false, fraudulent, and material misrepresentations in connection with the receipt
of compensation and benefits under the Federal Employees’ Compensation Act, as detailed

below:

Count} —_ Claim Date Mail Matter or Thing _

6 June 24, 2016 Form OWCP-957 with false entries claiming inflated and
nonexistent travel benefits for purported and nonexistent

visits to the pharmacy and treatment providers sent by
SLADE to OWCP.

7 July 28, 2017 Form OWCP-957 with false entries claiming inflated and
nonexistent travel benefits for purported and nonexistent
visits to the pharmacy and treatment providers sent by
SLADE to OWCP.

8 June 14, 2018 Form OWCP-957 with false entries claiming inflated and
nonexistent travel benefits for purported and nonexistent
visits to the pharmacy and treatment providers sent by
SLADE to OWCP.

9 April 30, 2019 Form OWCP-957 with false entries claiming inflated and
nonexistent travel benefits for purported and nonexistent

visits to the pharmacy and treatment providers sent by
SLADE to OWCP.

10 | December 5, 2019 Form OWCP-957 with false entries claiming inflated and
nonexistent travel benefits for purported and nonexistent

visits to the pharmacy and treatment providers sent by
SLADE to OWCP.

18 U.S.C. § 1920
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FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

1. Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
defendant that the United States will seek forfeiture as part of any sentence in accordance with
18 U.S.C. § 981(a)(1)(C), and 28 U.S.C. § 2461(c), as a result of the defendant’s conviction under
any of Counts One through Five of the Indictment.

2. As a result of the offenses set forth in Counts One through Five of this Indictment,
pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), the defendant,

EDLEY S. SLADE,
shall forfeit to the United States, any property, real or personal, which constitutes or is derived
from proceeds traceable to such offense, including, but not limited to, at least $66,385 in U.S.
currency in the form of a money judgment.

3. If any of the property described above as being subject to forfeiture, as a result of

any act or omission of any defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

G has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or,

c, has been commingled with other property which cannot be divided

without difficulty;
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the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c), shall
be entitled to forfeiture of substitute property up to the value of the forfeitable property described

above.

18 U.S.C. § 981(a)(1)(C)
21 U.S.C. § 853
28 U.S.C. § 2461(c)

A TRUE BILL:

SIGNATURE REDACTED

Foreperso

May 5, 2021
